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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

        v.
                                                     Case No. 23 cr. 347 (JGK)
 ALEXANDER MASHINSKY,

                               Defendant.


             MOTION FOR PERMISSION TO BRING ELECTRONIC DEVICES
                 INTO COURTROOM FOR SENTENCING HEARING

       Pursuant to the District’s Courthouse Security Policies, including the Court’s February

27, 2014 Standing Order (M10-468), the undersigned counsel for defendant Alexander

Mashinsky (“Defendant”) respectfully moves for permission to bring computers and other

electronic devices into the courtroom for the May 8, 2025 sentencing hearing. Specifically,

defense counsel requests permission to bring those items identified in their Application,

appended to this Motion.

       This Motion is supported by good cause in that each of the identified devices is necessary

to aid counsel during the May 8th sentencing hearing.

       WHEREFORE, for the foregoing reasons, Defendant respectfully requests that the Court

permit the undersigned counsel and support personnel to bring the identified electronic devices

into the courtroom during the sentencing hearing.

Dated: New York, New York                            Respectfully submitted,
       May 7, 2025
                                             By:      /s/ Marc L. Mukasey
                                                     Marc L. Mukasey
                                                     Torrey K. Young
                                                     Michael F. Westfal

                                                     MUKASEY YOUNG LLP
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